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            ORDERED in the Southern District of Florida on March 6, 2020.




                                                         Robert A. Mark, Judge
                                                         United States Bankruptcy Court
_____________________________________________________________________________




                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                             )
       In re:                                )       Case No. 18-20828-BKC-RAM
                                             )
       BERTONI GELATO BRICKELL, LLC,         )       Chapter 11
                                             )
               Debtor.                       )
                                             )
                                             )
       BERTONI GELATO BRICKELL, LLC,         )
                                             )
               Plaintiff,                    )
                                             )
       v.                                    )       Adv. No. 19-01039-BKC-RAM-A
                                             )
       QUIMERA, LLC,                         )
                                             )
               Defendant.                    )
                                             )

                      ORDER (1) GRANTING PLAINTIFF’S MOTION FOR
              PARTIAL SUMMARY JUDGMENT REGARDING ASSIGNMENT (STANDING),
            AND (2) DENYING DEFENDANT’S CROSS-MOTION FOR SUMMARY JUDGMENT

               The Court conducted a hearing on January 24, 2020, on (i)
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Plaintiff’s     Motion    for   Partial     Summary        Judgment       Regarding

Assignment – Standing Issue) (the “Motion for Summary Judgment”)

[DE #48], and (ii) Defendant’s Verified Response to, and Cross-

Motion for Summary Judgment on Standing Defense, to Plaintiff’s

Motion    for   Partial   Summary   Judgment      Regarding       Assignment     –

Standing Issue (the “Cross Motion for Summary Judgment”) [DE #59].

For the reasons that follow, the Motion for Summary Judgment will

be granted, and the Cross Motion for Summary Judgment will be

denied.

                   Factual and Procedural Background

     A detailed history of the parties’ state court and bankruptcy

court litigation is set forth in the Court’s Order Granting in

Part and Denying in Part Motion for Rehearing, which was entered

in the Plaintiff’s main bankruptcy case on April 25, 2019 [DE #99

in Case No. 18-20828].          The Court summarizes below the facts

salient to its summary judgment ruling.

     The Debtor operated a restaurant at 1300 Brickell Bay Drive,

CU-2, Miami, Florida 33131, in a commercial unit leased from the

Defendant.      On July 19, 2018, the Defendant filed an eviction

action against the Debtor in the Circuit Court of the Eleventh

Judicial Circuit in and for Miami-Dade County, Case No. 2018-

024472-CA-01, alleging that the Debtor was in default under the



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lease between the parties (the “Lease”).                    The parties dispute

whether the Lease was in default when Defendant filed the eviction

action.    The Plaintiff contends that, due to past overpayments,

it did not owe the Defendant any rent when the eviction action was

filed and, in fact, is entitled to reimbursement of overcharged

sums.

     On August 31, 2018, the Plaintiff filed a chapter 11 petition

for bankruptcy relief.      The bankruptcy filing stayed a summary

judgment hearing scheduled in the eviction action.                 On October 3,

2018, the Plaintiff moved to assume and assign the Lease to Versace

Stefano Holdings, LLC (the “Assignee”).               The Court granted the

Plaintiff’s motion by order dated December 6, 2018, and “reserve[d]

ruling on the amount required to be paid by the Debtor[/Plaintiff]

to the Landlord[/Defendant] to effect the final cure of claimed

defaults.” [DE #52 in Case No. 18-20828].

     The   Plaintiff    filed    the       Complaint        in   this      adversary

proceeding on February 21, 2019, and an Amended Complaint on August

29, 2019 [DE #33].     The adversary will resolve disputes over cure

payments due when the Lease was assigned including attorney’s fees

that the Defendant claims as a cure payment.                       The Plaintiff

contends that the Defendant is not entitled to any attorney’s fees

incurred in the eviction action because the Lease was not in



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default.   The Plaintiff also seeks to recover a portion of the

rents it paid to the Defendant prior to the assignment that were

allegedly in excess of amounts due under the Lease.

     Defendant’s Answer and Affirmative Defenses [DE #33] asserts

that the Lease was in default and denies the allegations that it

was overpaid.   The Defendant also asserts waiver as an affirmative

defense.     Specifically,     the      Defendant     asserts    that   “[t]he

Debtor/Plaintiff has waived its claims for breach of contract by

assigning absolutely the Lease . . . .           Such rights included the

breach of contract claim and overpayments.” [DE #33, p.4].                   The

Defendant also asserts that the Plaintiff lacks standing because

the Debtor absolutely assigned all of its rights under the Lease.

     The   Plaintiff   filed   the   Motion     for   Summary     Judgment    on

December 27, 2019.     The Plaintiff argues that “[s]ummary judgment

should issue because the record is undisputed that neither the

cure amount nor the claims for overpaid rent were transferred to

the assignee and because the Debtor retained all transfer claims

regardless of the assignment.” [DE #48, p.1].

     On January 21, 2020, the Defendant filed its Cross Motion for

Summary Judgment, “seek[ing] summary judgment as to Counts 1 (“Dec.

Claim”) and VII (“Breach of Contract Claim”) – both of which arise

exclusively under the Lease between the Parties[,] . . . which



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existed      pre-petition,     and    was        ultimately       assigned,      without

reservation or qualification, post-petition.” [DE #59, p.2].

                                     Discussion

      An assignment is a transfer of all the interests and rights

to the thing assigned. Dept. of Rev. v. Bank of America, 752 So.

2d 637, 642 (Fla. 1st DCA 2000).                  After an absolute assignment,

the assignee stands in the shoes of the assignor and may enforce

the contract against the original obligor in his own name. Dove v.

McCormick, 698 So. 2d 585, 589 (Fla. 5th DCA 1997). Judicial

determination     as   to    whether       an    absolute        assignment     occurred

requires analysis of the assignment, the parties’ intent, and

applicable state law. 3 COLLIER ON BANKRUPTCY ¶ 363.03[3] (16th

ed. 2019).

      Here, there is nothing in the Assignment indicating that the

Plaintiff abandoned its pending claims against the Defendant.

Interpreting the Assignment according to its plain language, it is

an assignment for the future use and occupancy under the Lease,

and an assumption of future duties, not an assignment of claims

and causes of actions. Additionally, the Plaintiff’s actions in

continuing     its   prosecution       of       the   Adversary      Proceeding,     and

referring to the Adversary Proceeding in the Assignment, provide

a   strong    indication     that    the     Plaintiff      had     no   intention    of



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abandoning   its   causes   of   actions      after    assigning     the   Lease.

Moreover, the Assignee has not asserted any right to prosecute the

claims alleged in this proceeding.

     In sum, having considered the record in this proceeding and

the arguments of counsel at the hearing, the Court finds that the

issue of whether the Plaintiff assigned its claims against the

Defendant and therefore lacks standing to prosecute this adversary

proceeding is not an issue of material fact in genuine dispute.

The Assignment did not constitute a waiver of the Plaintiff’s

rights to file the claims in this proceeding, and the Plaintiff

has standing to prosecute these claims. Therefore, it is–

     ORDERED as follows:

     1.   The Motion for Summary Judgment is granted.

     2.   The Cross Motion is denied.

     3.   Partial summary judgment is entered in favor of the

Plaintiff and against the Defendant on the Defendant’s affirmative

defenses of waiver and lack of standing.

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Copies Furnished To:
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